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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND
                                      NORTHERN DIVISION

ANITA G. ZUCKER, TRUSTEE OF THE
ANITA G. ZUCKER TRUST DATED
MARCH 20, 2007
4838 Jenkins Avenue
Charleston, SC 29405-4816

and

ANITA G. ZUCKER AS TRUSTEE OF THE
ARTICLE 6 MARITAL TRUST, UNDER THE                      Case No. ___________________________
FIRST AMENDED AND RESTATED JERRY
ZUCKER REVOCABLE TRUST DATED                            Judge: _____________________________
APRIL 2, 2007
4838 Jenkins Avenue                                     CLASS ACTION COMPLAINT
Charleston, SC 29405-4816
                                                        DEMAND FOR JURY TRIAL
         Individually and on behalf of all others
         similarly situated,

                   Plaintiffs,

         v.

BOWL AMERICA, INC.
c/o The Corporation Trust Company,
Statutory Agent
2405 York Road, Suite 201
Lutherville-Timonium, Maryland 21093-2264

and

BOWLERO CORP.
c/o The Corporation Trust Company, Inc.,
Statutory Agent
Wilmington, DE 19801

and

DUFF & PHELPS SECURITIES LLC,
c/o Corporate Creations Network Inc.,
Statutory Agent
3411 Silverside Road



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Tatnall Building, Suite 104
Wilmington, DE 19801

and

CHERYL A. DRAGOO
10201 Heron Pond Terrace
Burke, VA 22015

and

ALLAN L. SHER
20 Ocean Park Blvd, Apt 12
Santa Monica, CA 90405

And

 MERLE FABIAN
 4620 N Park Ave., Apt 1202W
 Chevy Chase, MD 20815

 and

 GLORIA M. BRAGG
 c/o The Corporation Trust Company,
 Statutory Agent
 2405 York Road, Suite 201
 Lutherville-Timonium, Maryland 21093-2264

 and

 NANCY E. HULL
 3299 K St., NW, Suite 100
 Washington, DC 20007

 and

 RUTH MACKLIN
 212 Washington Ave., #1407
 Towson, MD 21204,

                       Defendants.




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         Plaintiffs Anita G. Zucker Trustee of the Anita G. Zucker Trust dated March 20, 2007 and

Anita G. Zucker Trustee of the Article 6 Marital Trust, Under the First Amended and Restated

Jerry Zucker Revocable Trust dated April 2, 2007 (collectively, “Plaintiffs”) hereby file this class

action pursuant to Rule 23 of the Federal Rules of Civil Procedure on behalf of themselves and all

others similarly situated against Defendant Bowl America, Inc. (“Bowl America” or the

“Company”), Defendant Bowlero Corp. (“Bowlero”), Defendant Duff & Phelps Securities LLC

(“D&P”), and Defendants Cheryl Dragoo, Allan Sher, Merle Fabian, Gloria Bragg, Nancy Hull,

and Ruth Macklin (collectively, the “Board of Directors” or “Director Defendants”) (Bowl

America, Bowlero, D&P, and the Board of Directors shall be referred to collectively as the

“Defendants”), and allege as follows based upon personal knowledge as to themselves and their

own acts and, as to all other matters, upon information and belief based upon, inter alia,

investigation conducted by their attorneys which included a review of the Company’s public

filings, press releases and other publicly available materials.

                                   NATURE OF THE ACTION

         1.       This shareholder class action challenges an unfair, misleading, and grossly

inadequate merger between Bowl America and Bowlero that was orchestrated by a reckless and

self-interested Board of Directors who were intent on forcing the sale of a proven, debt-free, and

valuable company at a fire sale price. Instead of leading Bowl America into the future following a

temporary shutdown that was caused by the COVID-19 pandemic, the Board of Directors elected

to quit; betraying their shareholders, and seeking to liquidate their personal holdings at the earliest

opportunity through a forced sale of the Company at a discount to its market price and far below

its intrinsic value, while simultaneously issuing a materially false and misleading Proxy Statement

on Schedule 14A dated July 13, 2021 (the “Merger Proxy”) -- and breaching their fiduciary duties




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in the process. Certain of the Director Defendants have complete control over the Company and

control a majority of the votes on the merger largely by virtue of their holdings of Class B stock

which entitles them to ten (10) votes per share, while Plaintiffs and similarly situated class

members hold shares of Class A stock entitling them to just one (1) vote per share. The merger is

the result of a self-dealing transaction entered into by certain controlling stockholders, Defendants

Macklin, Hull and Fabian. The merger price of $44 million dollars is grossly unfair to stockholders

as just the unencumbered real estate owned by Bowl America has a value in excess of $50 million

dollars. Both D&P, the Company’s financial advisor, and Bowlero, the acquirer, provided

substantial assistance to and aided and abetted the Director Defendants’ breaches of fiduciary

duties in connection with the merger.

         2.       The special meeting of shareholders is currently scheduled for August 11, 2021 for

the purpose of approving this merger. As a result of Defendants misconduct, Plaintiffs and other

similarly situated shareholders will suffer significant harm.

                                              PARTIES

         A.       Plaintiffs.

         3.       Plaintiff Anita G. Zucker Trustee of the Anita G. Zucker Trust dated March 20,

2007 is the beneficial owner of 15,000 shares of Bowl America’s Class A stock. This Trustee owns

0.431474% of all of Bowl America’s outstanding Class A stock.

         4.       Plaintiff Anita G. Zucker Trustee of the Article 6 Marital Trust, Under the First

Amended and Restated Jerry Zucker Revocable Trust dated April 2, 2007, is the beneficial owner

of 264,596 shares of Bowl America’s Class A stock. This Trustee owns 7.062572% of all of Bowl

America’s outstanding Class A stock.




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         5.       Plaintiffs collectively own 279,596 shares of Bowl America’s Class A stock which

represents a total of 7.46295% of Bowl America’s 3,746,454 outstanding shares of Class A stock.



         B.       Defendant Bowl America.

         6.       Defendant Bowl America is a publicly traded Maryland corporation with its

principal place of business at 6446 Edsall Road, Alexandria, Virginia 22312. In the merger,

Potomac Merger Sub, Inc., a Maryland corporation, will merge with and into Bowl America, with

Bowl America as the surviving entity and a wholly-owned subsidiary of Bowlero.

         7.       Bowl America’s Class A stock is listed and traded on the NSYE American

Exchange under the ticker symbol “BWL-A.”

         8.       Each of the issued and outstanding 3,746,454 shares of Bowl America’s Class A

stock is entitled to one (1) vote per share for an aggregate of 3,746,454 votes and each of the issued

and outstanding 1,414,517 shares of Bowl America’s Class B stock is entitled to ten (10) votes per

share for an aggregate of 14,145,170 votes.

         9.       The total number of votes represented by outstanding Class A stock and Class B

stock as of the merger date was 17,891,624.

         C.       Defendant Bowlero.

         10.      Defendant Bowlero is a publicly traded Delaware corporation with its principal

place of business at 222 W. 44th Street, New York, New York 10036. Bowlero, a privately held

company, owns and operates over 300 bowling centers in North America and owns the

Professional Bowlers Association. As described further below, Bowlero, separately and in concert

with D&P, aided and abetted the Board of Directors in breaching their fiduciary duties.




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         11.      Bowlero recently announced that it has agreed to become a publicly traded

company through a merger with a special purpose acquisition company, Isos Acquisition Corp.

(the “SPAC Transaction”), The SPAC Transaction contemplates that the Bowlero’s merger with

Bowl America will go forward and those assets will be included in the deal. The combined

company has been valued at around $2.6 billion dollars.

         D.       Defendant D&P.

         12.      Defendant D&P is a Delaware corporation with its principal place of business at 55

E. 52nd Street, 14 Floor, New York, New York 10055. D&P provides financial advice, valuation

services, fairness opinions and various other financial services to its clients, such as Bowl America.

As described further below, D&P, separately and in concert with Bowlero, aided and abetted the

Board of Directors in breaching their fiduciary duties.

         E.       The Board of Director Defendants.

                  a.     Ms. Cheryl Dragoo.

         13.      Defendant Cheryl A. Dragoo was appointed to Bowl America’s Board of Directors

on September 25, 2008.

         14.      Ms. Dragoo is Bowl America’s Chief Executive Officer, having been appointed to

the position in January 2019, and Bowl America’s President, having been appointed to the position

on December 3, 2019. Ms. Dragoo has also served as the Company’s Chief Financial Officer since

2002 and has been employed by the Company since 1972.

         15.      On September 26, 2019, Ms. Dragoo and Bowl America entered into an Amended

and Restated Employment agreement, which was offered as an incentive to convince Ms. Dragoo

to postpone her retirement. Ms. Dragoo agreed to assist in the sale of the Company and, in

exchange, was promised a lump sum payment of $400,000 if a sale occurred. As a result, Ms.




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Dragoo has a significant financial incentive, untethered to any sales price, to ensure that the merger

with Bowlero closes, even if it means selling out the shareholders in breach of her fiduciary duties.

         16.      Ms. Dragoo is the beneficial owner of 14,010 shares of Bowl America’s Class A

stock and is entitled to cast 14,010 votes.

         17.      Ms. Dragoo has already agreed to vote in favor of the merger. Ms. Dragoo signed

the Merger Proxy and Letter to Stockholders on behalf of the Board of Directors urging the

shareholders to vote in favor of the merger.

                  b.     Mr. Allan L. Sher.

         18.      Defendant Allan L. Sher was appointed to Bowl America’s Board of Directors on

February 15, 1997.

         19.      Mr. Sher is the beneficial owner of 52,500 shares of Bowl America’s Class A stock

and is entitled to cast 52,500 votes.

         20.      Mr. Sher has already agreed to vote in favor of the merger.

                  c.     Ms. Merle Fabian.

         21.      Defendant Merle Fabian was appointed to Bowl America’s Board of Directors on

March 20, 1990.

         22.      Ms. Fabian is the beneficial owner of 879,463 shares of Bowl America’s Class A

stock which entitles her to cast 879,463 votes and the beneficial owner of 872,026 of Bowl

America’s Class B stock which entitles her to cast 8,720,260 votes. In total, Ms. Fabian is entitled

to cast 9,599,723 votes and, by herself, has majority voting control of the Company.

         23.      Ms. Fabian has already agreed to vote in favor of the merger pursuant to a Voting

and Support Agreement that was executed between Bowl America, Bowlero, and Ms. Fabian.

                  d.     Ms. Gloria M. Bragg.




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         24.      Defendant Gloria M. Bragg was appointed to Bowl America’s Board of Directors

on September 24, 2020. Ms. Bragg is not the beneficial owner of any shares of Bowl America.

                  e.     Ms. Nancy E. Hull.

         25.      Defendant Nancy E. Hull was appointed to Bowl America’s Board of Directors on

June 17, 2014.

         26.      Ms. Hull is the beneficial owner of 212,359 shares of Bowl America’s Class A

stock which entitles her to cast 212,359 votes and the beneficial owner of 217,417 of Bowl

America’s Class B stock which entitles her to cast 2,174,170 votes. In total, Ms. Hull is entitled to

cast 2,386,529 votes.

         27.      Ms. Hull has already agreed to vote in favor of the merger pursuant to a Voting and

Support Agreement that was executed between Bowl America, Bowlero, and Ms. Hull.

                  f.     Ms. Ruth Macklin

         28.      Defendant Ruth Macklin served on Bowl America’s Board of Directors from

February 14, 1978 through May 17, 2021.

         29.      Upon information and belief, Ms. Macklin was intimately involved in all aspects of

the merger between Bowl America and Bowlero until her resignation.

         30.      Ms. Macklin is the beneficial owner of 184,585 shares of Bowl America’s Class A

stock which entitles her to cast 184,585 votes and the beneficial owner of 183,407 of Bowl

America’s Class B stock which entitles her to cast 1,834,070 votes. In total, Ms. Macklin is entitled

to cast 2,018,655 votes.

         31.      Ms. Macklin has already agreed to vote in favor of the merger.

                  g.     Board of Directors - Summary




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         32.      In total, Ms. Hull, Ms. Fabian, Mr. Sher, Ms. Dragoo, and Ms. Macklin are the

beneficial owners of 1,342,917 shares of Class A stock which entitles them to cast 1,342,917 votes.

In total, Ms. Hull, Ms. Fabian, and Ms. Macklin are the beneficial owners of 1,272,850 shares of

Class B stock which entitles them to cast 12,728,500 votes.

         33.      Ms. Hull, Ms. Fabian, Mr. Sher, Ms. Dragoo, and Ms. Macklin own or control

14,071,417 of a total of 17,891,624 votes, representing over 78% of the total number of votes.

         34.      Based upon the forgoing, the Board of Directors can approve the Bowlero merger

even if every single shareholder that is not a director, votes against it. This sale is oppressive,

unjust, and unfair to Plaintiffs and every other shareholder who invested in Bowl America and

relied upon a purportedly competent Board of Directors.

                                   JURISDICTION AND VENUE

         35.      This Court has jurisdiction over the subject matter of this action pursuant to Section

27 of the Exchange Act, 15 U.S.C. § 78aa, and pursuant to 28 U.S.C. § 1331. This Court has

supplemental jurisdiction over Plaintiffs’ state-law claims pursuant to 28 U.S.C. § 1367.

         36.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b) in that many of the

acts and practices complained of herein occurred in this District, and Defendants conduct business

or reside in this District.

                                       BACKGROUND FACTS

         A.       History of Bowl America and its Board of Directors.

         37.      Bowl America was founded in Maryland in 1958 by Mr. Edward Goldberg, Mr.

Sollie Katzman, Mr. Samuel Sobkov, and Mr. Samuel Higger. The Company began with one (1)

bowling center. After the founders passed, their shares and control of the Company passed to their

heirs, including Ms. Macklin, Ms. Hull, and Ms. Fabian.




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         38.      On February 14, 1978, Ms. Ruth Macklin, the daughter and heir of one of the

founders, Mr. Katzman, was appointed to the Board of Directors. Ms. Macklin served on Bowl

America’s Board of Directors until May 17, 2021, when she retired because of her failing health.

At the time she retired from Bowl America’s Board of Directors, Ms. Macklin was over ninety-

one (91) years old. She served on the Board of Directors for over forty-three (43) years.

         39.      On March 20, 1990, Ms. Merle Fabian, also a daughter and heir of one of the

founders, Mr. Goldberg, was appointed to the Board of Directors. Ms. Fabian has served on the

Board of Directors for over thirty-one (31) years. When the Company announced the merger, Ms.

Fabian was over eighty-two (82) years old.

         40.      On February 15, 1997, Mr. Allan Sher was appointed to the Board of Directors. Mr.

Sher has served on the Board of Directors for over twenty-four (24) years. When the Company

announced the merger, Mr. Sher was over eighty-eight (88) years old.

         41.      On September 25, 2008, Ms. Cheryl Dragoo was appointed to the Board of

Directors. Ms. Dragoo has served on the Board of Directors for over twelve (12) years. When the

Company announced the merger, Ms. Dragoo, who was planning her retirement, was over seventy-

two (72) years old.

         42.      On June 17, 2014, Ms. Nancy Hull, yet another heir of an original founder, was

appointed to the Board of Directors. When the Company announced the merger, Ms. Hull was

over fifty-five (55) years old.

         43.      On September 24, 2020, Ms. Gloria Bragg was appointed to the Board of Directors.

When the Company announced the merger, Ms. Bragg was over fifty-six (56) years old.




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         44.      Around the time the decision was made to explore a potential sale of the Company,

the average age of the Board of Directors was seventy-four (74) years old and many of the directors

had served well over twenty (20) years in office.

         45.      In 1976, Bowl America appointed the late Leslie H. Goldberg as its President and

CEO. Mr. Goldberg, the son and heir of founder Mr. Edward Goldberg. Under Mr. Goldberg’s

leadership, Bowl America expanded to twenty-five (25) bowling center locations by 1998.

         46.      During Mr. Goldberg’s forty-three (43) year term as President and CEO of Bowl

America, he served as the face of the Company.

         B.       The Board of Directors Abandons Its Fiduciary Duties and Fails to Adopt a
                  Succession Plan.

         47.      During the late Mr. Goldberg’s tenure as President of Bowl America, the Board of

Directors was complacent, did not play an active role in managing or directing the Company, and

was ill-prepared to assume control in the event of Mr. Goldberg’s death.

         48.       In 2018, Mr. Goldberg’s health began to decline, and he was no longer able to

serve effectively as Bowl America’s President. As Mr. Goldberg aged and his health declined, the

Board of Directors recklessly ignored their fiduciary duties and made no effort to devise any type

of succession plans that would prepare Bowl America for when Mr. Goldberg was no longer able

to lead the Company. Tellingly, not a single annual proxy statement filed by Bowl America makes

any reference to a succession plan and, significantly, any risk attendant to the Company’s business

going forward.

         49.      Demonstrating years of complacency at the Board of Directors level, the Merger

Proxy explains the need for capital expenditures to upgrade the Company’s operations and a lack

of management depth as reasons shareholders should vote in support of the merger. However,

those conditions had been caused by years of the Board of Directors’ recklessness, who failed to



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recognize obvious risks to the Company’s business and failed to actively manage and oversee the

Company which they now claim must be sold because of the need for capital expenditures and

lack of management depth.

         50.      On September 26, 2019, with no succession plan in place, the Board of Directors

agreed to an Amended and Restated Employment Agreement with Ms. Dragoo with terms that

anticipated the proposed merger. Just days later, on October 14, 2019, Mr. Goldberg passed away

at the age of 89 . At the time he passed, Mr. Goldberg was still serving as President of Bowl

America

         51.      In exchange for postponing her retirement until the merger was approved, Ms.

Dragoo’s annual salary was increased to $200,000. In addition to receiving a raise, she agreed to

cooperate in the merger, and, in exchange, the Board of Directors agreed to pay her a lump sum

cash payment equal to $400,000 if the Company is sold, even if she is not terminated and regardless

of the sales price. If this merger is approved, Ms. Dragoo will receive more than three (3) times

the value of her shares through her employment contract.

         52.      Ms. Dragoo was one of two people appointed to negotiate the terms of and oversee

the merger. The significant financial incentives set forth in her employment agreement created a

conflict of interest between Ms. Dragoo’s personal interest in pushing through an unfair deal and

her obligation to maximize the price the Company will receive in a sale.

         C.       The Board of Directors Began Soliciting Offers to Sell Bowl America Despite
                  Bowl America’s Stock Price and the Market for Bowling Alleys Being
                  Depressed Because of the COVID-19 Pandemic.

         53.      From January 1, 2019 through December 31, 2019, the price of Bowl America’s

Class A stock ranged from a low of $13.97 per share to a high of $17.48 per share and the average

closing price per share during this pre-pandemic time period was $15.25. Yahoo! Finance,




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https://finance.yahoo.com/quote/BWL-

A/history?period1=1546300800&period2=1577750400&interval=1d&filter=history&frequency

=1d&includeAdjustedClose=true (last visited July 26, 2021). In calendar year 2019, the quarterly

dividends for Class A and Class B shareholders were equal to $0.175 per share.

         54.      On March 19, 2019, the Board of Directors engaged the law firm of Foley &

Lardner LLP (“Foley”) to explore strategic alternatives, including a potential sale of the Company.

On the same day, the Board of Directors decided to engage an investment banker.

         55.      Mr. Sher and Ms. Dragoo were responsible for leading the Company’s efforts to

solicit a buyer and served as the Company’s primary points of contact with Foley and the

investment bank. Mr. Sher and Ms. Dragoo reported to the Board of Directors.

         56.      The Board of Directors inexplicably failed to create a special committee to review

the merger, apparently satisfied that having Ms. Dragoo and Mr. Sher head the Company’s efforts

presented no conflicts of interest. Ms. Dragoo, by virtue of her $400,000 golden parachute payment

that will be triggered if this merger is completed, has a clear conflict of interest between her

personal interest in obtaining her parachute payment and her obligation to maximize the value of

the sale for the benefit of the shareholders.

         57.      On May 7, 2019, the Board of Directors engaged Duff & Phelps Securities LLC

(“D&P”) as its investment banker for purposes of soliciting a buyer. The Board of Directors elected

to use D&P despite the fact that D&P had done significant work for Bowlero within two (2) years

of the proposed deal. The Merger Proxy states that during the two years preceding the date of its

Opinion, Duff & Phelps independently performed valuation work for Bowlero unrelated to the

proposed transaction with the Company for which it received a fee of $180,000 for its services.

The nature of the work was not disclosed in the Merger Proxy.




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         58.      On or about February 2020, the Board of Directors entered negotiations with four

parties that expressed interest in acquiring Bowl America. These parties are identified in the

Merger Proxy as Parent (being Bowlero), Party X, Party Y (an affiliated entity of an existing Class

A stockholder of the Company), and Party Z.1 There is no disclosure whether prior to this time,

the Board possessed any valuation or estimated valuation of the Company or what its financial

worth would be either as an ongoing entity or in a sale to a willing buyer.

         59.      Upon information and belief, Party Y is NIL Funding Corporation, a company

affiliated with Plaintiffs.

         60.      On February 19, 2020, the price of Bowl America’s Class A stock (NYSE: BWL-

A) closed at $15.20 per share. Yahoo! Finance, https://finance.yahoo.com/quote/BWL-

A/history?period1=1580515200&period2=1582848000&interval=1d&filter=history&frequency

=1d&includeAdjustedClose=true (last accessed July 26, 2021).

         61.      On March 18, 2020, the Company closed all bowling centers as required by the

orders from state and federal governments, in an effort to mitigate the spread of COVID-19.

         62.      On March 25, 2020, the Board of Directors was advised by Foley and D&P that, as

a result of market disruptions caused by the emerging COVID-19 outbreak, only two potential

buyers remained.2

         63.      On March 30, 2020, the Board of Directors advised D&P to pursue a transaction

with Bowlero without specifying a price or price range, thereby abdicating their responsibilities

and breaching their fiduciary duties.



1
 On March 11, 2020, the Board of Directors was advised by Foley and D&P that Party Z was no longer interested in
purchasing the entire company.
2
  In its proxy, Bowl America identifies the two remaining prospective buyers as Bowlero and Company X. This is
incorrect as Company Y (presumed to be NIL Funding Corporation) continued to express its interest in purchasing
Bowl America.


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         64.      On April 10, 2020, D&P informed Mr. Sher and Ms. Dragoo that Bowlero had

decided not to engage further in negotiations as it wanted to wait to determine the effect of COVID-

19. D&P also advised Mr. Sher and Ms. Dragoo that Company X could only move forward with a

much lower purchase price than what had been offered due to an inability to obtain financing,

although none of these amounts are disclosed in the Merger Proxy. Due to Bowlero’s suspension

of all activities and Party X’s inability to obtain financing, as well as the Company’s closure of all

of its bowling centers as a result of the COVID-19 pandemic, D&P recommended to Mr. Sher and

Ms. Dragoo that the process be slowed or suspended completely.

         65.      On April 13, 2020, the Board of Directors agreed to suspend negotiations with

potential buyers until such time that the COVID-19 restrictions lapsed, or relatively normal

operations resumed.

         66.      From April 2020 through November 2020, D&P contacted Bowlero, Party X, Party

Y (believed to be NIL Funding Corporation), and Party Z at various points to gauge their continued

interest in purchasing Bowl America. During this time, D&P advised Mr. Sher and Ms. Dragoo

that the continued impact of the COVID-19 pandemic was limiting the overall interest of bidders

to reengage.

         67.      As recently as November 28, 2020, D&P agreed to notify NIL Funding Corporation

(believed to be Party Y in the Merger Proxy) if Bowl America decided to proceed with a sale.

Despite that assurance, D&P and Bowl America’s Board of Directors terminated all discussions

with NIL Funding, electing to continue negotiations with Bowlero without contacting NIL Funding

to determine if NIL Funding would agree to a higher purchase price or more favorable terms.




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         68.      On January 7, 2021, Bowlero presented Bowl America with a non-binding letter of

intent with a proposed 180-day period of exclusivity. In this letter of intent, Bowlero offered Bowl

America $44 million dollars in exchange for 100% of the Company.

         69.      On January 12, 2021, Bowl America signed a letter of intent with Bowlero that

provided for a purchase price of $44 million dollars and an exclusivity period of 90-days through

April 12, 2021, which was subsequently extended to April 30, 2021.

         70.      On May 27, 2021, the Board of Directors approved Bowlero’s proposal to acquire

Bowl America for $44 million dollars. At arriving at this price, the parties set the value of each

share at $8.53 per share plus an additional dividend of up to $0.60 per share conditioned upon

liquidating securities owned by the Company, for a total of $9.13 per share. In conjunction with

the sale, the Board of Directors pledged to vote 100% of their shares in favor of the merger.

         71.      On May 27, 2021, the day the merger agreement was signed, the price of a share of

Bowl America’s Class A stock was $10.50 per share, which already reflected a 31% loss in value

since February 19, 2020, just before the pandemic began to rage.

         72.      By agreeing to sell Bowl America for $8.53 per share, the Board of Directors

accepted almost $2.00 less per share than what any shareholder could sell their shares for on the

open market and more than a 40% discount to the pre-pandemic trading price. Instead of

negotiating a premium, even to the $10.50 trading price, the Board of Directors negotiated a

discounted purchase price, betraying the confidence bestowed upon them by Plaintiffs and other

shareholders in violation of their fiduciary duties.

         D.       The Board of Directors Breached their Fiduciary Duties.

                  a.     The Board of Directors Placed their Personal Interests Above the Best
                         Interests of the Company and its Shareholders.




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         73.      Upon information and belief, many, if not all, of the Board of Directors acquired

their shares through an inheritance or by other means that did not require the exchange of

consideration.

         74.      Upon information and belief, because some or all of the Board of Directors did not

pay the fair market value of their shares when they acquired them, they will receive a windfall

from any sale, regardless of the price and, as a consequence, their self-interests in the merger thus

diverge significantly from Class members. The public stockholders, such as Plaintiffs, will likely

take significant losses as compared to certain members of Board of Directors who engaged in self-

dealing by prioritizing their own interests over Class members.

         75.      Due to the size of their stock holdings, the Board of Directors could not easily

liquidate their stock. The merger presents the Board of Directors with one of their only options to

liquidate their stock. Because of the limitations imposed on the Board of Directors due to the nature

of their holdings and the profits they will derive from the sale of the Company, their interests are

entirely different than the interests of Plaintiffs and other public shareholders.

         76.      Upon information and belief, when Mr. Goldberg passed, the Board of Directors

had no business plan in place and no interest in continuing to operate the business. For years they

had recklessly failed both to develop a succession plan or to invest capital to modernize operations

and maintain the value of the Company’s assets.

         77.      By agreeing to this merger, it is evident that the members of the Board of Directors

are simply seeking to liquidate their holdings and earn a personal profit without any concern for

maximizing the price for all shareholders, many of whom would lose significant amount of their

investment.




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         78.      Plaintiffs and other similarly situated shareholders who paid valuable consideration

for their shares will suffer significant financial losses as a result of the Board of Directors’

complete failure to explore other strategic options for the Company to continue operating, or to

obtain the maximum value for the Company.

                  b.      D&P’s Fairness Opinion was the Result of Flawed Methodology and
                          Incomplete Data which Resulted in a Gross Undervaluation of a Fair
                          Price for Bowl America’s Shareholders.

                        i.       The Fairness Opinion Fails to Account for the Value of Bowl
                                 America’s Real Estate Assets which, Standing Alone, are Worth
                                 Significantly More than the Purchase Price.

         79.      On May 27, 2021, D&P provided a fairness opinion to the Board of Directors

concerning the merger (the “Opinion”).

         80.      In its Opinion, D&P concludes that purchase price of $8.53 per share is fair to Bowl

America’s public shareholders.

         81.      Upon information and belief, prior to the pandemic, the tax value of Bowl

America’s unencumbered real property assets alone was approximately $50 million dollars. The

tax valuation of real property typically represents just a fraction of the property’s actual value and

reflects no value whatsoever for the Company’s business.

         82.      Upon information and belief, Bowl America’s real estate holdings have and will

continue to appreciate.      At the time of the sale, the Board of Directors failed to obtain any

independent valuation of the Company’s real estate holdings from which it could establish the true

value of the Company.

         83.      In connection with rendering the Opinion, D&P did not evaluate the Company’s

solvency or conduct an independent appraisal or physical inspection of any specific assets or

liabilities (contingent or otherwise) or consider a prior valuation of Bowl America’s real estate –




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prepared by D&P for which it was paid $95,000. D&P, Bowl America, and the Director

Defendants concealed the results of that valuation and omitted it from the Merger Proxy. Further,

and inexplicably, those valuations were not used by D&P in evaluating the fairness of the Merger.

         84.      By failing to consider the value of Bowl America’s real property assets, D&P could

not have reasonably concluded that the proposed merger was fair to the public shareholders.

         85.      By concluding that the proposed merger in which Bowl America’s Board of

Directors have agreed to sell the Company at a price per share that is below the price that

shareholders could receive on the open market, and far below the pre-pandemic price, D&P could

not reasonably conclude that the merger was fair to stockholders.

         86.      The May 21, 2021 engagement of D&P to provide the fairness Opinion by the

Board of Directors presented a conflict of interest. In undertaking the engagement, D&P had a

vested interest to conclude that the deal was fair to the shareholders because if D&P concludes that

the deal is fair and the merger closes as a result, D&P will receive a $1 million dollar fee in

connection with the sale of the Company, in addition to the fee for the fairness opinion. The amount

of the payment D&P will receive contingent on the transaction closing was only disclosed after

Plaintiffs, through counsel, specifically identified it as a material omission from the Preliminary

Proxy Statement. In addition, the Board of Directors engaged D&P to provide the fairness Opinion

regarding the Bowlero merger despite the fact that D&P had recently provided services to Bowlero

and might obtain additional engagements from Bowlero in the future, presenting further conflicts

of interest for D&P.

         87.      Further, D&P Opinion was flawed because D&P failed to consider future value,

cash flows, or projections, all of which constitute factors that investment bankers regularly

consider in determining whether a proposed merger is fair to stockholders.




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         88.      The Board of Directors, in relying upon D&P’s flawed, incomplete, and biased

opinion and data, failed to uphold their fiduciary duties to Plaintiffs and their fellow shareholders.



                  c.     The Board of Directors Used a Flawed Sales Process that was not
                         Designed to Maximize the Purchase Price.

         89.      In agreeing to the merger with Bowlero, the Board of Directors agreed to terms that

made it impossible to maximize the value of the purchase price including, but not limited to:

                  a.     Entering into an exclusivity provision while failing to negotiate a
                         go-shop period that would have allowed the Company to confirm
                         that another party would not pay more for Bowl America;

                  b.     Entering into a voting agreement which would assure the merger
                         would be approved and discourage any other potential purchasers
                         from making a bid;

                  c.     Limiting and barring any discussions or negotiations with respect to
                         another acquisition proposal;

                  d.     Eliminating and prohibiting Class A stockholders from exercising
                         any right to an appraisal; and

                  e.     Agreeing to a crippling breakup fee under which Bowl America
                         would be required to pay up to $5.1 million, or 11.7% of the total
                         guaranteed price of the deal, if Bowl America were to receive a
                         better offer, effectively locking out any competitive offers.

         90.      On the same day Bowl America entered into the merger agreement, the Board of

Directors, likely recognizing that the Bowlero merger represents a prima facie breach of their

fiduciary duties to Plaintiffs and Bowl America’s other shareholders, unilaterally adopted a series

of self-dealing amendments to Bowl America’s by-laws, the first amendments since 1984. These

amendments require Bowl America to indemnify and pay the directors’ expenses for a lawsuit that

arises out of their failure to protect their shareholders’ interests and seek to deny a shareholder the




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right to challenge the merger in a forum in the shareholder’s state of residence other than the State

of Maryland.

         91.      In the Merger Proxy, the Board of Directors recognized that Bowl America’s

business had suffered as a result of the pandemic. In agreeing to sell Bowl America, after Bowl

America’s business had been temporarily and negatively impacted because of mandatory closures

that resulted in a total interruption of all business activities instead of waiting for pandemic

restrictions to ease and its business to recover, the Board of Directors breached their fiduciary duty

to maximize the sales price. Bowl America is a debt-free company with adequate cash reserves,

and there is absolutely no need to sell while the economy is still recovering from a global

pandemic.

         E.       The Merger Proxy Omits or Misrepresents Material Information Necessary
                  for Bowl America’s Shareholders to Make an Informed Decision as to How to
                  Vote.

         92.      In connection with upcoming shareholder vote on the merger, Defendants filed and

disseminated a materially false and/or misleading Merger Proxy in contravention of §§14(a) and

20(a) of the 1934 Act and/or Defendants’ duty of candor and full disclosure under state law. The

Merger Proxy, which recommends that Bowl America shareholders vote in favor of the merger,

misrepresents and fails to disclose material information necessary for the Company’s public

stockholders to make an informed decision as to whether to vote their shares in favor of the merger

with Bowlero.

         93.      The Merger Proxy represented to shareholders, among other things, that:

                  a.     “the merger agreement, including the merger...are fair to, and in the
                         best interests of, the Company and its stockholders”;

                  b.     “the board of directors unanimously resolved to recommend that
                         stockholders of the Company approve the merger” and related
                         transactions; and



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                  c.     it recommended the merger based, in part, on the opinion from D&P
                         that the merger was fair, from a financial point of view, to
                         shareholders.

         94.      The Merger Proxy also omitted and/or misrepresented material information about

the flawed sales process and the conflicts of interests that corrupted the sales process, including

the following:

                  a.     the basis for the Board of Directors selection of, and the process by
                         which the Board of Directors identified and selected parties who
                         might have been interested in pursuing a strategic transaction with
                         the Company;

                  b.     the details concerning the Board of Directors’ consideration of other
                         potential strategic alternatives or failure to consider such
                         alternatives, including continuing as a stand-alone, independent
                         company;

                  c.     the basis for the Board of Directors’ selection of, and the process by
                         which the Board selected and retained D&P as its financial advisor
                         on the merger;

                  d.     the details surrounding D&P past and/or present engagements by
                         Bowl America; and

                  e.     the details surrounding D&P past and/or present engagements by
                         Bowlero, and any fees paid to D&P pursuant to all such
                         engagements.

         95.      The failure to disclose the foregoing information renders the Merger Proxy false

and materially misleading in that it gives Bowl America stockholders an incomplete and distorted

picture of the sales process and leaves the stockholders unable to determine whether the Board of

Directors took all steps necessary to maximize shareholder value.

         96.      In order for the public stockholders to make an informed decision about whether to

vote for the merger, Defendants were required to disclose even potential conflicts of interest. The

stockholders are therefore entitled to know if their fiduciaries have interests in the transaction that




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are even potentially in conflict with the stockholders’ interest in maximizing value. Defendants

here failed to disclose material information concerning actual and potential conflicts that burdened

the sales process.

         97.      The Merger Proxy also omitted and/or misrepresented material information about

the intrinsic value of the Company, which makes it more likely that Bowl America’s public

stockholders will be misled into voting in favor of the merger without that material information

regarding the critical decision they face.

         98.      Without disclosure of the foregoing material information, Bowl America

shareholders are unable to assess whether D&P’s financial analyses, which supported its fairness

Opinion, sufficiently valued the Company’s intrinsic value.

         99.      These omissions render the information concerning the financial analysis provided

by D&P as contained in the Merger Proxy materially misleading.

         100.     While the Board of Directors claim they thoroughly evaluated Bowl America as a

stand-alone company and concluded that a reduction in the dividend would be necessary, the Board

of Directors prepared absolutely no projections to rely upon in making this assessment. The Board

of Directors could not adequately evaluate the Company’s prospects as a stand-alone company, its

ability to make capital improvements, or the expected return on investments for those

improvements, and the impact on dividend payments without making financial projections. The

Merger Proxy is devoid of any financial projections, depriving Plaintiffs and fellow shareholders

of the right to make an informed decision on selling the Company. Nor did D&P conduct any such

analysis.

         101.     The Merger Proxy does not disclose why the Company does not have projections,

whether the Board of Directors considered projections, whether the Board of Directors asked




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management to prepare projections, or whether D&P requested projections. All of this information

should be disclosed.

         102.     The Board of Directors also cites “limited access to capital to finance capital

improvements” as a factor in support of the merger. Bowl America owns its own facilities and has

a strong balance sheet with no debt and liquid securities. The Board of Directors fails to mention

any communications with banks, lenders, or other sources of capital or to provide any basis for

this representation. This stunning lack of detail suggests that the Board of Directors made this

representation while making no effort to determine whether it was true.

         103.     The Board of Directors blindly accepted D&P’s Opinion without reviewing it for

its accuracy. Upon information and belief, the peer groups used by D&P for its analysis includes

companies that own little or no unencumbered real estate. The Merger Proxy and Opinion do not

describe how or why these companies were selected, which deprives the shareholders from

assessing the credibility of D&P’s analysis.

         F.       Bowlero and D&P Aided and Abetted the Board of Directors in Breaching
                  Their Fiduciary Duties.

         104.     The Board of Directors expressed a clear intent to liquidate their holdings at any

cost. In furtherance of that goal, the Board of Directors engaged D&P to ostensibly explore

“strategic alternatives” that could include continuing to operate Bowl America as a stand-alone

company. The use of the term “strategic alternatives” is pretextual, as the Board of Directors never

seriously pursued anything but a sale.

         105.     D&P found a willing buyer, Bowlero, which presented an unfair offer. In order to

be handsomely compensated, D&P only needed to conclude that the offer was fair. D&P set out

with the objective of finding that the merger was fair and selectively chose what information and




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data could be relied upon to achieve that goal. In the process, D&P failed to consider assets or

employ other methods of valuation that would objectively show that the merger is patently unfair.

          106.    By insisting upon a merger that included provisions such as an onerous 11.7%

breakup fee, no-shop provisions, and a voting agreement assuring the Merger would be approved

by stockholders, Bowlero completely foreclosed the Board of Directors from soliciting or

negotiating a better offer, thereby aiding and abetting the Board of Directors’ breach of their

common law and statutory fiduciary duties.

                                 CLASS ACTION ALLEGATIONS

          107.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.

          108.    Plaintiffs bring this action individually and as a class action pursuant to Rule

23(b)(3) of the Federal Rules of Civil Procedure on their own behalf and as a class action on behalf

of all holders of Bowl America Class A stock whom, as of May 27, 2021, are entitled to vote on

the merger, and their successors in interest (the “Class”). Excluded from the Class are the

Defendants named herein, their family members, heirs, and any person, firm, trust, corporation, or

other entity related to, or affiliated with, any of the Defendants.

          109.    This action is properly maintainable as a class action.

          110.    The Class is so numerous that joinder of all members is impracticable. As of May

27, 2021, there were 3,746,454 shares of Bowl America’s Class A stock outstanding, most of

which are held by the Company’s minority shareholders. Upon information and belief, there are

over 700 members of the Class.

          111.    There are questions of law and fact that are common to the Class, including, but not

limited to:




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                  a.     Whether Defendants breached their fiduciary duties of loyalty, good
                         faith and/or due care with respect to Plaintiffs and other members of
                         the Class in connection with the proposed Merger;

                  b.     Whether the Director Defendants breached their fiduciary duty to
                         secure and obtain the best price reasonably available under the
                         circumstances for the benefit of Plaintiffs and the other members of
                         the Class in connection with the Merger;

                  c.     Whether the merger is entirely fair to the Class;

                  d.     Whether Defendants, in bad faith and for improper motives,
                         impeded or erected barriers designed to discourage other potentially
                         interested parties from making an offer to acquire the Company or
                         its assets;

                  e.     Whether Defendants D&P and Bowlero aided and abetted any of the
                         other Defendants breaches of fiduciary duties owed to Plaintiffs and
                         the other members of the Class in connection with the proposed
                         acquisition;

                  f.     Whether Defendants made materially false and misleading
                         statements in or omitted material information from the Merger
                         Proxy; and

                  g.     Whether Plaintiffs and the other members of the Class are
                         entitled to damages as a result of Defendants’ misconduct.

         112.     Plaintiffs are committed to prosecuting this action and have retained competent

counsel experienced in litigation of this nature. Plaintiffs’ claims are typical of claims of the other

members of the Class, and Plaintiffs have the same interests as the other members of the Class. All

members of the Class have suffered the same harm.

         113.     Defendants caused the same harm and damages to the Class through their material

misrepresentations and breaches of fiduciary duty.

         114.     Accordingly, Plaintiffs are adequate representatives of the Class and will fairly and

adequately protect the interests of the Class.




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          115.    The prosecution of separate actions by the individual members of the Class would

create a risk of inconsistent or varying adjudications with respect to the individual Class members

that would establish incompatible standards of conduct for Defendants. Adjudications with respect

to individual Class members would, as a practical matter, be dispositive, or would substantially

impair the interests of the Class members.

          116.    The questions of law and fact common to the members of the Class predominate

over any questions affecting only its individual members, such that a class action is superior to any

other available method for fairly and efficiently adjudicating the controversy.

                                              COUNT I
                             Violation of Section 14(a) and Rule 14a-9
                            of the Securities and Exchange Act of 1934
                       (Against Bowl America and the Director Defendants)

          117.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.

          118.    Section 14(a) of the Exchange Act, 15 U.S.C. §78n (a), prohibits any person

soliciting a proxy from doing so “in contravention of such rules and regulations as the [Securities

and Exchange] Commission may prescribe as necessary or appropriate in the public interest or for

the protection of investors.”

          119.    SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to §14(a) of the 1934

Act, provides:

                  No solicitation subject to this regulation shall be made by means of any
                  proxy statement, form of proxy, notice of meeting or other communication,
                  written or oral, containing any statement which, at the time and in the light
                  of the circumstances under which it is made, is false or misleading with
                  respect to any material fact, or which omits to state any material fact
                  necessary in order to make the statements therein not false or misleading or
                  necessary to correct any statement in any earlier communication with
                  respect to the solicitation of a proxy for the same meeting or subject matter
                  which has become false or misleading.



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         120.     Director Defendants prepared, reviewed and/or disseminated the false and

misleading Merger Proxy which failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading. As

stated herein, the Merger Proxy misrepresented and/or omitted material facts, including material

information about the unfair consideration offered in the merger, the actual intrinsic value of the

Company, the flawed and unfair sales process orchestrated by Defendants, and the conflicts of

interest that burdened the process.

         121.     The omissions and false and misleading statements made by Defendants in the

Merger Proxy constitute violations of §14(a) of the 1934 Act and SEC Rule 14a-9 promulgated

thereunder, because such statements are materially false and/or misleading and were provided in

at least a negligent manner. By virtue of their positions within the Company and/or roles in the

process and in the preparation of the Merger Proxy, the Director Defendants were aware of this

information and of their duty to disclose this information to public stockholders.

         122.     The omissions and false and misleading statements in the Merger Proxy are

material in that a reasonable shareholder would consider them important in deciding how to vote

on the merger. In addition, a reasonable investor would view a full and accurate disclosure as

having significantly altered the “total mix” of information made available in the Merger Proxy and

in other information reasonably available to shareholders.

         123.     By reason of the misconduct detailed herein, Bowl America and the Director

Defendants are liable pursuant to §14(a) of the 1934 Act and SEC Rule 14a-9 promulgated

thereunder.

                                            COUNT II
                                 Violation of Section 20(a) of the
                               Securities and Exchange Act of 1934



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                                 (Against the Director Defendants)

          124.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.

          125.    The Director Defendants acted as controlling persons of Bowl America within the

meaning of §20(a) of the 1934 Act.

          126.    By virtue of their positions as officers and/or directors and/or controlling

shareholders of Bowl America, and/or their participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Merger Proxy filed

with the SEC, the Director Defendants had the power to influence and control and did influence

and control, directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiffs contend are false and misleading.

          127.    Each of the Director Defendants were provided with or had unlimited access to

copies of the Merger Proxy and other statements alleged by Plaintiffs to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          128.    The Merger Proxy details the Director Defendants’ involvement in negotiating,

reviewing and approving the merger and preparation of the Merger Proxy.

          129.    The Merger Proxy contains the recommendation or authorization of each of the

Director Defendants to approve the merger. They were thus directly involved in the making of this

document.

          130.    By reason of such conduct, the Director Defendants are liable pursuant to §20(a) of

the 1934 Act.

                                            COUNT III
                                     Breach of Fiduciary Duties



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                                  (Against the Director Defendants)

          131.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.

          132.    The Director Defendants stand in a fiduciary relationship to the Company,

Plaintiffs, and other similarly situated shareholders. This fiduciary relationship imposes the

common law duties of care, loyalty, candor, and good faith on the Director Defendants in the

management and administration of the affairs of Bowl America and in the use and preservation of

Bowl America’s property and assets.

          133.    To fulfill their fiduciary duties, the Director Defendants must perform their acts in

good faith, in a manner that is in the best interest of the corporation, with the care that an ordinarily

prudent person in a like position would use under similar circumstances, and in a manner that

maximizes shareholder value.

          134.    To fulfill their fiduciary duties, the Director Defendants must, in the event of a

proposed sale or merger, maximize shareholder value. The Director Defendants cannot place their

own personal self-interests above the interests of the shareholders.

          135.    Based upon the actions and conduct set forth in this Complaint, including, but not

limited to, agreeing to a sales price that was inadequate and unfair to Plaintiffs and Class members,

derived from incomplete data, and resulted from a grossly inadequate flawed and conflicted

process, the Director Defendants have breached their fiduciary duty to the Company, Plaintiffs,

and other similarly situated shareholders.

          136.    The Director Defendants’ each have a fiduciary obligation to disclose all material

information to Plaintiffs and the Class concerning the merger. The Director Defendants failed to

adequately discharge their responsibility.




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          137.    Separately, the controlling stockholders, Macklin, Hull and Fabian, violated their

fiduciary duties to the Class by entering into a self-dealing transaction (the merger) for their own

self-interests and at the expense of public stockholders.

          138.    Director Defendants are directly liable to shareholders for breach of fiduciary

duties.

          139.    As a result of the Director Defendants’ breach of their fiduciary duties, Plaintiffs

and other similarly situated shareholders have been harmed and continue to be harmed in that they

will not receive fair and adequate consideration for their Bowl America Class A stock.

                                            COUNT IV
                       Breach of Md. Code Ann, Corp. & Ass’ns § 2-405.1(a)
                                 (Against the Director Defendants)

          140.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.

          141.    Director Defendants owe the Company, Plaintiffs, and other similarly situated

shareholders statutory fiduciary duties as set forth in Md. Code Ann., Corp. & Ass’ns § 2-405.1(a)

          142.    To fulfill their statutory fiduciary duties, the Director Defendants must perform

their acts in good faith, in a manner that is in the best interest of the corporation, and with the care

that an ordinarily prudent person in a like position would use under similar circumstances.

          143.    Based upon the actions and conduct set forth in this Complaint, including, but not

limited to, agreeing to a sale price that was inadequate and unfair to Plaintiffs and Class members,

derived from incomplete data, and resulted from a grossly inadequate flawed and conflicted

process, the Director Defendants have breached their fiduciary duty to the Company, Plaintiffs,

and other similarly situated shareholders.




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          144.    The Director Defendants are directly liable to shareholders for breach of fiduciary

duties.

          145.    As a result of the Director Defendants’ breach of their fiduciary duties, Plaintiffs

and other similarly situated shareholders have been harmed and continue to be harmed in that they

will not receive fair and adequate consideration for their Bowl America Class A stock.

                                           COUNT V
                           Against Bowlero for Aiding and Abetting the
                         Director Defendants’ Breaches of Fiduciary Duty

          146.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.

          147.    The Director Defendants owed and owe fiduciary duties to the Company, which

they breached for the reasons alleged herein.

          148.    Bowlero was aware of the Director Defendants’ fiduciary status.

          149.    Bowlero knowingly aided and abetted, and provided substantial assistance to, the

Director Defendants’ in breaching their fiduciary duties to Class members by entering into an

unfair merger and filing a false and misleading Merger Proxy.

          150.    By providing substantial assistance in the Director Defendants’ if the merger is

consummated, Bowlero will acquire Bowl America at a grossly inadequate price that is far below

its value which will cause Plaintiffs and other similarly situated public shareholders to sustain

significant damages.

                                           COUNT VI
                            Against D&P for Aiding and Abetting the
                          Board of Directors Breaches of Fiduciary Duty

          151.    Plaintiffs repeat and reallege the paragraphs set forth above as if fully set forth

herein.




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         152.     Director Defendants owed and owe fiduciary duties to the Company, which they

breached for the reasons alleged herein.

         153.     D&P was aware of the Director Defendants’ fiduciary status.

         154.     D&P knowingly aided and abetted, and provided substantial assistance to, the

Director Defendants’ filing of a false and misleading Merger Proxy which was in violation of the

Board of Directors’ fiduciary duties to the Company.

         155.     By providing substantial assistance in the Board of Directors’ filing of a false and

misleading Merger Proxy, if this merger is consummated, Bowlero will acquire Bowl America at

a grossly inadequate price that is far below market value which will cause Plaintiffs and other

similarly situated public shareholders to sustain certain and significant damages.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs’ respectfully request that the Court enter judgment as follows:

                  A.     certifying the Class as set forth herein and designating Plaintiffs as
                         the representatives thereof;

                  B.     declaring the Merger Proxy materially false and misleading in
                         violation of Section 14(a) of the Securities and Exchange Act of
                         1934 and Rule 14a-9;

                  C.     finding that the Director Defendants violated Section 20(a) of the
                         Securities and Exchange Act of 1934;

                  D.     declaring that the Director Defendants breached their fiduciary
                         duties;

                  E.     finding that D&P and Bowlero aided and abetted the Director
                         Defendants’ breaches of fiduciary duties owed to the Company and
                         stockholders awarding Plaintiffs and the Class damages sustained as
                         a result of Defendants’ unlawful conduct;

                  F.     awarding Plaintiffs their reasonable attorneys’ fees, expenses,
                         expert fees and costs; and




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                   G.       Such other and further relief as the Court deems just and
                            equitable.

                                             Respectfully submitted,


                                             COHEN MILSTEIN SELLERS & TOLL PLLC

                                               /s/ Daniel S. Sommers

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    Pro Hac Application will be submitted
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                                        JURY DEMAND

Plaintiffs respectfully demands a trial by jury pursuant to Fed. R. Civ. P. 38.

                                              /s/ Daniel S. Sommers




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                                   CERTIFICATION                      OF SECURITIES                     CLASS        ACTION
                                   PURSIT ANT TO THF, FF,DF,R AT, SF,CURTTTF,ST,AWS

              I, Anita        G.     Zucker,      hereby        certify     that     the following          is tnie     and correct           to the best            of
 my knowledge,                information,             and belief:


              1.            I am the Trustee              of The Anita          G. Zucker         Revocable          Trust,    dated April          4, 2007,         as
 subsequently             amended       and/or     restated,      and the Article           6 Marital      Trust,    Under      the First Amended                   and
 Restated          Jerry Zucker        Revocable        Trust dated April            2, 2007 (the "Trusts").

              2.            I have      reviewed         the    Class      Action       Complaint          alleging         violations       of the        federal
 securities         laws     and      breach      of    duty     (the      "Complaint")          against      Bowl          America,        Inc.     and       other
 defendants          and authorize         the filing        of the Complaint.


              3.           Each       of the Trusts          is willing       to serve       as a representative               party     on behalf           of the
 Class (as defined                in the       Complaint),         including         providing          testimony       at deposition              and     trial,    if
necessary.


            4.             Each      of the Trusts        is a Class        Member          (as defined       in the Complaint)               because          they
each currently             hold      shares of Bowl            America       Inc. Class A common                    stock     which      is the subject             of
the Complaint.              The Anita          G. Zucker        Revocable          Trust,    dated April      4, 2007,         currently      holds        15,000
shares      of Bowl          America       Class        A common            stock.      The Article          6 Marital         Trust,      Under         the First
Amended             and     Restated       Jerg        Zucker       Revocable           Trust     dated      April      2, 2007,           currently         holds
264,596        shares of Bowl            America         Class A common                stock.

            5.             Neither      of the Trusts           engaged       in any transaction              of the relevant            securities         at the
direction          of counsel,        or in order        to participate         in any private            action     arising      under      the Securities
Exchange           Act     of 1934      (the "Exchange            Act").


            6.      Neither  of the Trusts has sought to serve or served as a representative
                                                                                                  party on
behalf     of a class in any private action(s) arising under the Securities Act of 1933 or the Exchange
Act   filed during the three-year    period preceding  the date of my signing this Certification.

          I declare        under penalty         of perjury       that the foregoing            is true and correct.




         August3,          2021

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